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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 20-cv-02702-RM-SKC

  KATELYN SCHILLER,

         Plaintiff;

         v.

  THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY SYSTEM, BY
  AND ON BEHALF OF COLORADO STATE UNIVERSITY;
  OVATIONS FOOD SERVICES, LP (d/b/a SPECTRA FOOD SERVICES AND
  HOSPITALITY);
  MICHAEL BEST; and
  SCOTT SCHELL,

         Defendants.


                      PLAINTIFF’S MOTION TO COMPEL PRODUCTION


         Plaintiff Katelyn Schiller, by and through the undersigned counsel, hereby files this

  Motion to Compel Production pursuant to Fed. R. Civ. P. 37(a)(3)(A), as authorized by the Court

  at the January 5, 2022 discovery conference.

                                           INTRODUCTION

         This Motion seeks an order compelling Defendant CSU to search its employees’ mobile

  devices used for work purposes, and to produce any responsive contents of work-related

  electronically-stored information (“ESI”), including but not limited to text messages, found on

  those mobile devices. Because CSU custodians regularly use their personal mobile devices for

  work purposes, and because those devices are therefore within the possession, custody or control

  of CSU, Plaintiff respectfully requests this Court grant the Motion.




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                                      FACTUAL BACKGROUND

         Plaintiff issued a first set of written discovery requests on Defendant CSU on August 31,

  2021. CSU produced responsive content, including electronically-stored information (“ESI”) on

  October 14, 2021. Included among Defendants’ ESI production were text messages sent and

  received by custodian David Crum, CSU’s Associate Athletic Director for Development. The

  messages produced from Mr. Crum’s cell phone were exclusively business-related. See, e.g., Ex.

  A, David Crum-Susie Wargin Text Messages (messages between Crum and Susie Wargin, CSU

  alumna and donor, about CSU’s investigation into Wargin’s husband, Defendant Michael Best);

  Ex. B, David Crum-Michael Best Text Messages (messages between Crum and Defendant Best);

  Ex. C, David Crum-Steve Cottingham Text Messages (messages between Crum and Deputy

  Athletic Director Steve Cottingham). These records make clear that CSU employees, including

  custodians in this case, regularly use their mobile devices to exchange work-related

  communications.

         Conspicuously absent from the records produced were any text messages sent by Steve

  Cottingham, despite the fact Mr. Cottingham led CSU’s investigation into Plaintiff’s allegations

  of harassment and despite the fact Mr. Cottingham did in fact exchange text messages relating to

  the investigation. This omission became especially clear to undersigned counsel when Defendant

  Spectra produced ESI responsive to Plaintiff’s discovery requests, and included a highly

  probative text chain between Mr. Cottingham and one of Spectra’s managers at CSU. See Ex. D,

  Steve Cottingham-Karla Lewis Text Messages. Plaintiff also discovered that Defendant had not

  produced any communications from Athletic Director Joe Parker, a key decisionmaker relating

  to Ms. Schiller’s allegations, any emails involving the aforementioned Associate Athletic




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  Director David Crum, or any communications whatsoever from a number of other important

  custodians who were directly involved in the investigation into Plaintiff’s allegations.

         In response to these omissions, Plaintiff asked CSU to explain its search methods,

  including whether CSU had searched any of its custodians’ mobile devices for responsive text

  messages. During a conferral on January 3, 2022, CSU argued that text messages from its

  custodians’ cell phones were not subject to discovery. The parties raised the issue of CSU

  custodians’ text messages during a discovery conference held on January 5, 2022, following

  which this Court authorized Plaintiff to file this Motion.

                                           LEGAL ANALYSIS

         Federal Rule of Civil Procedure 34 requires production of documents in the “possession,

  custody, or control” of the party from whom discovery is sought. Fed. R. Civ. P. 34(a). “Courts

  have universally held that documents are deemed to be within the possession, custody or control

  if the party has actual possession, custody or control or has the legal right to obtain the

  documents on demand.” Tomlinson v. El Paso Corp., 245 F.R.D. 474, 476-77 (D. Colo. 2007)

  (emphasis added). Furthermore, “‘[c]ontrol’ comprehends not only possession, but also the right,

  authority, or ability to obtain documents.” Id. “Therefore, Rule 34(a) enables a party seeking

  discovery to require production of documents beyond the actual possession of the opposing party

  if such party has retained any right or ability to influence the person in whose possession the

  documents lie.” Id.

         When it comes to documents not actually possessed by a party, but rather possessed by an

  employee, courts have applied the well-established rule that “[w]here [documents] were created

  in connection with the officer’s functions as a corporate employee, the corporation has a

  proprietary interest in them and the officer has a fiduciary duty to turn them over on demand.”




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  Riddell Sports Inc. v. Brooks, 158 F.R.D. 555, 558 (S.D.N.Y. 1994) (emphasis added); see also

  Cache La Poudre Feeds, LLC v. Land O’Lakes, Inc., 244 F.R.D. 614, 627 (D. Colo. 2007)

  (applying rule and concluding that “a court could (even) determine that an employer has control

  over documents maintained by a former employee” (parenthesis and emphasis added)); accord

  Chevron Corp. v. Salazar, 275 F.R.D. 437, 448-49 (S.D.N.Y. 2011) (“Courts have repeatedly

  found that employers have control over their employees and can be required to produce

  documents in their employees’ possession.”); Flagg v. City of Detroit, 252 F.R.D. 346, 353 (E.D.

  Mich. 2008) (“In light of the Rule’s language, ‘[a] party responding to a Rule 34 production

  request cannot furnish only that information within his immediate knowledge or possession; he is

  under an affirmative duty to seek that information reasonably available to him from his

  employees, agents, or others subject to his control.”).

         Numerous courts have discussed the precise question at issue here: whether records in an

  employee’s personal account—or on an employee’s personal device—are subject to discovery

  pursuant to Rule 34. The authoritative cases on this question are a pair of 2013 decisions out of

  the Southern District of Illinois and the District of Kansas. See In re Pradaxa (Dabigatran

  Etexilate) Products Liability Litigation, No. 3:12-md-02385, 2013 WL 6486921, at *18 (S.D. Ill.

  Dec. 9, 2013); Cotton v. Costco Wholesale Corp., No. 12-2731-JW, 2013 WL 3819974, at *6 (D.

  Kan. July 24, 2013); see also Danielle Richter, “Bring Your Own Device” Programs: Employer

  Control Over Employee Devices in the Mobile E-Discovery Age, 82 TENN. L. REV. 443, 443-44,

  447-50 (2015). In In re Pradaxa, the court held that communications on employees’ personal cell

  phones used for business purposes were discoverable. See 2013 WL 6486921, at *18 (“The

  defendants raised the issue that some employees use their personal cell phones while on business

  and utilize the texting feature of those phones for business purposes yet balk at the request of




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  litigation lawyers to examine those personal phones. The litigation hold and the requirement to

  produce relevant text messages, without question, applies to that space on employees [sic] cell

  phones dedicated to the business which is relevant to this litigation.”).

         The court in Cotton v. Costco Wholesale Corp. came to the opposite conclusion regarding

  employees’ personal cell phones, but not because employees’ personal cell phones were

  categorically protected from discovery; instead, the court focused on the fact that the plaintiff

  had not asserted that the employer “issued the cell phones to these employees, that the

  employees used the cell phones for any work-related purpose, or that [the employer]

  otherwise has any legal right to obtain employee text messages on demand.” 2013 WL 3819974,

  at *6 (emphasis added).

         Subsequent courts have clearly articulated the rule suggested by the In re Pradaxa and

  Cotton v. Costco courts, namely that an employee’s personal emails and text messages are

  discoverable if the communications in question were created for work purposes. See, e.g., State

  Farm Mut. Auto Ins. Co. v. Precious Physical Therapy, Inc., No. 19-10835, 2020 WL 7056039,

  at *6 & n.4 (E.D. Mich. Dec. 2, 2020) (stating the rule and holding that “[t]he fact that

  responsive emails, if they exist, will be in the employees’ personal email accounts is of no

  moment. As a practical matter, if an employer were able to avoid producing business documents

  by simply maintaining anything potentially discoverable in an employee’s personal email

  account, this could have the potential to incentivize employers to require the use of personal

  accounts for business purposes or to store business documents in personal accounts. Such

  evasive measures would cut against the purpose of the federal civil rules that allow for broad

  discovery and would inhibit the resolution of cases on the merits.”).




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         Counsel for Plaintiff is aware of only two cases in the District of Colorado in which this

  issue has been considered. First, in Crocs, Inc. v. Effervescent, Inc., the court held that

  employees’ personal email accounts used for business purposes were discoverable. See No. 06-

  cv-00605-PAB-KMT, 2017 WL 3891697, at *2 (“[W]hen a company identifies [an employee] as

  one who has relevant email information, not only the company account but also all other

  accounts likely to contain company information may be searched.” (emphasis added)).1 In

  Coates et al. v. Adams County Sheriffs Office et al., Judge Varholak recently ordered the Adams

  County Sheriff’s Office, a public entity just like CSU, to search and produce work-related text

  messages exchanged by deputies on their personal cell phones. See Ex. E, Minute Order [ECF

  No. 39], No. 1:20-cv-01936-STV (D. Colo. filed Mar. 25, 2021).

         The rule that personal devices or accounts used for business purposes are discoverable is

  consistent with the well-established rule that business communications are the property of the

  employer and that the employer thereby has a legal right to obtain such communications. See,

  e.g., Cache La Poudre, 244 F.R.D. at 627. The fact CSU is not a corporation, but instead an

  entity of the state, is a distinction without a difference. See Ex. E. Indeed, even if CSU

  employees’ work-related communications are not the property of the employer as they are for

  corporate employers, CSU retains a “legal right to obtain the documents on demand” for a




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    Counsel for CSU asserted in its position statement prior to the parties’ January 5, 2022
  discovery conference that the Crocs case involved “non-party emails that were located on a
  corporate defendant’s server.” Ex. F, 2022.1.4 Defendants’ Position Statement, at 2. Nothing in
  Judge Tafoya’s order, however, or the party’s briefing, makes any suggestion whatsoever that the
  employees’ personal emails were stored on a company server. See generally 2017 WL 3891697;
  Ex. G, Crocs, Inc. Motion to Compel; Ex. H, Crocs, Inc. Response to Motion to Compel; Ex. I,
  Crocs, Inc. Reply to Motion to Compel. Indeed, every indication is that the records sought, which
  the court held were discoverable, were personal emails stored in personal email accounts, i.e.,
  not on the company’s servers. See 2017 WL 3891697, at *2.



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  separate reason: namely, they are public records subject to the Colorado Open Records Act, and

  CSU is required to maintain them as such.

         In Tomlinson, Judge Hegarty held that although the requested personnel files were in the

  possession of a third party, the Defendants had control over the files because they had a legal

  obligation to maintain and produce them pursuant to the Employee Retirement Income Security

  Act (ERISA). See 245 F.R.D. at 477. Similarly, the Colorado Open Records Act (CORA)

  requires CSU to maintain all electronic communications sent or received by CSU employees in

  the performance of their public functions. See Denver Pub. Co. v. Bd. of Cty. Com’rs, 121 P.3d

  190, 199-200 (Colo. 2005) (noting that whether a public employee “sent or received a message

  while . . . using publicly-owned computer equipment” is not the relevant inquiry as to whether

  the communication is subject to CORA, and that what matters instead is whether “it was written

  or maintained in a private capacity” or made “for use in the performance of public functions”);

  see also Guy v. Whitsitt, 469 P.3d 546, 550 n.4 (Colo. Ct. App. 2020) (noting district court’s

  order that plaintiff “was entitled under [CORA] to have access to specific text messages and

  emails between Town Council members about Town business”). As in Tomlinson, here too the

  court may consider CSU’s statutory obligations under CORA as evidence of CSU’s control over

  business-related communications, regardless of whether such communications are maintained on

  CSU’s or its employees’ personal devices.

         Additionally, Plaintiff notes that CSU has not provided any evidence that its custodians,

  including but not limited to Deputy Athletic Director Steve Cottingham, used personal devices

  rather than CSU-owned devices when they exchanged messages relating to Plaintiff’s allegations

  and the ensuing investigation. CSU’s Mobile Communications Policy provides that CSU

  employees have two options with respect to mobile devices: they can either (1) use a mobile




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  device furnished by CSU, which CSU pays in full and over which CSU retains exclusive

  ownership; or (2) continue to use their personal devices, and if they use such devices for business

  purposes, they receive a stipend. See Ex. J, CSU Mobile Communications Policy. It is inarguable

  that if the devices in question here were CSU-issued phones, that fact alone would be sufficient

  to render their contents under the “possession, custody or control” of CSU. Similarly, if CSU’s

  custodians received a stipend to continue using their personal devices for business purposes, this

  Court could follow Judge Varholak’s ruling in Coates et al. v. Adams County Sheriffs Office et

  al., see generally Ex. E.

         Ultimately, however, even if CSU’s custodians used neither CSU-furnished devices nor

  CSU-subsidized personal devices, their business-related communications are still discoverable

  pursuant to Fed. R. Civ. P. 34(a). Under the applicable case law, those business communications

  are within the “control” of CSU because CSU has a “legal right to obtain the documents on

  demand” in order to comply with CORA. Tomlinson, 245 F.R.D. at 476.

                                             CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests this Court grant the Motion and

  order CSU to search its custodians’ mobile devices for any business-related communications

  responsive to Plaintiff’s discovery requests.



  Respectfully submitted this 12th day of January, 2022.

                                                                      s/ Benjamin DeGolia
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